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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA


 SHAWN JOHNSON,                                    )
                                                   )
                             Plaintiff,            )
        vs.                                        )       3:06-cv-0010-RLY-WGH
                                                   )
 LT. DANIEL BROUGH, et al.,                        )
                                                   )
                             Defendants.           )




         Entry Discussing Request to Proceed on Appeal In Forma Pauperis

         The plaintiff’s request for leave to proceed on appeal in forma pauperis with respect
 to his notice of appeal filed on February 14, 2006, is denied. An appeal may not be taken
 in forma pauperis if the trial court certifies that the appeal is not taken in good faith. 28
 U.S.C. § 1915; see Coppedge v. United States, 369 U.S. 438, 82 S. Ct. 917 (1962). "Good
 faith" within the meaning of § 1915 must be judged by an objective, not a subjective,
 standard. Id. There is no objectively reasonable argument which the plaintiff could present
 to argue that the disposition of this action was erroneous–nor does his request for leave
 to proceed on appeal in forma pauperis even suggest such an argument. In pursuing an
 appeal, the plaintiff “is acting in bad faith . . . [because] to sue in bad faith means merely
 to sue on the basis of a frivolous claim, which is to say a claim that no reasonable person
 could suppose to have any merit.” Lee v. Clinton, 209 F.3d 1025, 1026 (7th Cir. 2000).

        IT IS SO ORDERED.




                                                 _______________________________
 Date: 02/22/2006
                                                  RICHARD L. YOUNG, JUDGE
                                                  United States District Court
                                                  Southern District of Indiana
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